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                              UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MAINE


A.M., a minor, by and through her mother,             )
SHAEL NORRIS                                          )
                                                      )
                      Plaintiff                       )
                                                      )
v.                                                    )
                                                          Case No. 2:19-cv-00466-LEW
                                                      )
                                                      )
CAPE ELIZABETH SCHOOL DISTRICT, et al.                )
                                                      )
                                                      )
                    Defendants                        )

                        DECLARATION OF NATHAN CARPENTER

        Pursuant to 28 U.S.C. § 1746, I, Nathan Carpenter, declare as follows:

     1. I am the Assistant Principal at Cape Elizabeth High School (“CEHS”), which is part of

        the Cape Elizabeth School Department (“School Department”) in Cape Elizabeth, Maine.

     2. I have been the Assistant Principal at CEHS since 2014.

     3. In my position as Assistant Principal, I have assisted the School Department’s Title IX

        Coordinator, Cathy Stankard, with Title IX investigations and I have assisted the CEHS

        Principal, Jeffrey Shedd, with bullying investigations.

     4. While serving as Assistant Principal, my colleagues and I have always taken sexual

        assault, sexual harassment and sexual discrimination seriously. In addition to working to

        raise our school community’s awareness of these issues, we have worked hard to address

        specific incidents that have been brought to our attention. Last year, I was directly

        involved in addressing two incidents of unwanted sexual activity that were brought to our

        attention by two different students. Since these incidents were brought to our attention
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      the Principal and I have had regular contact with the two students who raised the specific

      incidents to ensure that they were each feeling safe and supported in school.

   5. On September 16, 2019, a very worried student brought sticky notes from the second

      floor girls’ bathroom to me. The sticky notes stated “There’s a rapist in our school, and

      you know who it is.”

   6. I was immediately concerned about whether anyone in our school was in danger and

      whether there was in fact a rapist in the school.

   7. Within minutes of receiving the notes, I separately spoke with both of the students who

      had brought the incidents from last year to our attention, and asked each of them if they

      or anyone else was in danger and if they knew anything about the notes. Neither student

      believed she was in danger. The first student did not know anything about the notes but

      the second student said that I should talk with A.M., who might know something about

      the notes.

   8. After the second student said I should talk with A.M., the School Resource Officer,

      David Galvan, and I met with her. She denied any knowledge of the sticky notes, but she

      was aware of the rumor of a rapist being in the building.

   9. When SRO Galvan and I met with A.M., I asked her if she knew of anyone who was in

      danger, if there was anyone that she was worried about, and if there was a rapist in the

      school. She said she knew of students who had been assaulted, but she refused to share

      any names. She said that would direct them to other channels for support.

   10. I later learned that within a couple of hours of the student reporting the notes from the

      second floor girls’ bathroom, other students reported copycat notes in the first floor girls’

      bathroom stating something to the effect of “kick out the rapist.”




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   11. After I interviewed A.M., the first student I had talked with came back to my office and

      told me that I should talk with three girls in her study hall who were talking about the

      sticky notes. I talked with the three girls and one of them reported that A.M. had shown

      her a picture of a sticky note with the statement about a “rapist” being in the school.

   12. Throughout the remainder of the day, A.M. shared the picture of herself with a sticky

      note with other students in class and in the hallways, and told students that another

      student in the school had raped his prom date and that there was video of the same

      student dragging an unconscious young woman into a bathroom, locking the door, and

      raping her.

   13. During our interviews with students, two different students told us that A.M. shared with

      them her view not only that Student 1 was a rapist but also that he was being protected by

      administration because of his race. Student 1 is African American.

   14. On September 17, 2019, Superintendent Donna Wolfrom, Ms. Stankard, SRO Galvan and

      I interviewed A.M. A.M.’s mother was also in attendance. While A.M. continued to

      deny any knowledge of who posted the sticky notes, the video footage of the entrance to

      the second floor bathroom showed that A.M. was the only person to enter the bathroom

      between the time when students reported not seeing notes and when they were found.

      After I told her that we had the video footage and statements from other students

      indicating that she had posted the notes in the second floor girls’ bathroom, she admitted

      to posting one of the notes. I then asked her why she wrote the notes and she said

      because there is a rapist in the school and that he should not be in school here. It was

      very clear to me that she was referring to one particular student (“Student 1”) when she

      made these statements because she spoke at some length about him and about how she




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      thought it was wrong that he was idolized by faculty at the school. She also went on to

      say that she wanted to create a culture of fear and then force a discussion about this issue.

   15. As part of the investigation, we interviewed 47 students about the sticky notes, pictures of

      the sticky notes, and allegations being spread about Student 1 raping his prom date and

      another young woman at a hotel.

   16. At no time during my interviews with A.M. or with other students did anyone’s name

      other than Student 1 come up.

   17. This incident caused significant disruption to our school not only as a result of genuine

      fear felt by some of our students that there was a rapist in the school, but also by students

      who had been involved in or were aware of others, such as family members, who had

      been impacted by sexual assault.

   18. The first student I spoke with did not want to share her personal experience and her

      mother was concerned about the impact that this situation was having on her in school.

      On the day of the planned walkout, the student’s mother requested that she be excused

      from school out of concern about how it would affect her daughter. They made it very

      clear that they had no concerns they wanted the school to address.

   19. In the days and weeks that followed A.M.’s posting of the sticky notes, picture sharing,

      and accusations, I had a number of students come to me expressing that they were upset,

      scared, and wanted to know that the school was safe.

   20. Student 1 stopped going to school on September 18, 2019—two days after the notes were

      posted.

   21. On September 23, 2019, Mr. Shedd and I met with Student 1 and his mother at the Town

      Hall because he did not feel safe going to the school building. Student 1’s mother made a




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      report that her son was being bullied in violation of our school’s bullying policy.

      Pursuant to policy JICK-R, Mr. Shedd, SRO Galvan and I conducted a bullying

      investigation.

   22. At that meeting, Student 1 expressed concern that his race could have been a factor in

      how he was being treated.

   23. On September 26, 2019, Superintendent Wolfrom, SRO Galvan, Mr. Shedd and I

      interviewed A.M. It was clear that she had posted at least one of the notes in the second

      floor girls’ bathroom and that she was referring to one particular student in the sticky

      note.

   24. That same day, Mr. Shedd and I determined that A.M. and the two other students who

      had posted sticky notes on the first floor girls’ bathroom had violated our bullying policy

      JICK. We discussed consequences to these students under policy JICK-R and agreed that

      they would each be suspended and would be required to attend an educational session on

      how to responsibly address concerns about sexual assault and support sexual assault

      victims.

   25. I know that this conversation occurred on September 26, 2019 because I remember that I

      left town to visit my son at his college on the following day and I went to see him on

      September 27, 2019.

   26. When I returned on Monday, September 30, 2019, Mr. Shedd told me that although he

      was initially thinking that A.M. should be suspended for five days, over the weekend he

      decided that three days was appropriate for her, two days for one of the other students,

      and one day for the third student. The lesser suspensions for the other two students was




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       because they were copying what A.M. had done and we had no reason to think that they

       would have posted the notes if A.M. had not first done so.

   27. Before informing the three students of their respective suspensions, we wanted to inform

       the targeted student and his parents of the results of our investigation. Although Mr.

       Shedd reached out to them on October 1, 2019, he was unable to connect with them until

       October 3, 2019.

   28. The next day, October 4, 2019, Mr. Shedd and I met with A.M. and the other two

       students and informed them of their respective suspensions. We had decided the

       discipline and planned the meetings before the article was published in the Portland Press

       Herald.



I declare under penalty of perjury under the laws of the United States that the foregoing is true
and correct.

       Executed: October 17, 2019                            /s/ Nathan Carpenter
                                                             Nathan Carpenter




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